           Case 2:07-cr-00118-WBS Document 48 Filed 10/12/07 Page 1 of 3


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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )    CR. 07-118-WBS
12             Plaintiff,             )
                                      )    STIPULATION AND [PROPOSED] ORDER
13                                    )    CONTINUING STATUS CONFERENCE AND
          v.                          )    EXCLUDING TIME
14                                    )
     Felicia Grant, and               )
15   John Anderson.                   )
                                      )
16             Defendants.            )    Hon. William B. Shubb
                                      )
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          The parties request and stipulate that the time beginning
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     September 10, 2007, and extending through November 19, 2007 and
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     stipulate should be excluded from the calculation of time under
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     the Speedy Trial Act.    Defendants Grant and Anderson and the
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     United States submit that the ends of justice are served by the
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     Court excluding such time, in order to permit the counsel a
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     reasonable time for effective preparation, taking into account
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     the exercise of due diligence.       18 U.S.C. § 3161(h)(8)(B)(iv).
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     In particular, the parties are working toward a resolution to the
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     case need more time to evaluate the evidence and negotiate
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              Case 2:07-cr-00118-WBS Document 48 Filed 10/12/07 Page 2 of 3


 1   disputed issues.      The parties stipulate and agree that the
 2   interests of justice served by granting this continuance outweigh
 3   the best interests of the public and the defendant in a speedy
 4   trial.    18 U.S.C. § 3161(h)(8)(A) and local code T-4.          The Court
 5   on September 10, 2007 ordered a T-4 exclusion of time until
 6   October 15, 2007.
 7                                             Respectfully Submitted,
 8                                             McGREGOR W. SCOTT
                                               United States Attorney
 9
10   Dated: October 10, 2007                   By:/s/ Jill Thomas
                                                  JILL THOMAS
11                                                Assistant U.S. Attorney
12   Dated: October 10, 2007                   By:/s/ Mark Reichel
                                                  MARK REICHEL
13                                                Attorney for defendant
                                                  John Anderson
14
     Dated: October 10, 2007                   By:/s/ Caro Marks
15                                                CARO MARKS
                                                  Attorney for defendant
16                                                Felicia Grant
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 1                                       ORDER
 2        In case number 07-118 WBS, the time beginning September 10,
 3   2007, and extending through November 19, 2007, is excluded from
 4   the calculation of time under the Speedy Trial Act.            The Court
 5   finds that interests of justice served by granting this
 6   continuance outweigh the best interests of the public and the
 7   defendant in a speedy trial.        18 U.S.C. § 3161(h)(8)(A) and local
 8   code T-4.     The Status Conference is continued from October 15,
 9   2007 to November 19, 2007 at 8:30 a.m.
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11   IT IS SO ORDERED.
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13   Dated:    October 12, 2007
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